                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK


DEMOCRATIC NATIONAL COMMITTEE,

                 Plaintiff,
                                            Case No. 18-CV-03501
     v.
                                            JURY DEMANDED
THE RUSSIAN FEDERATION et. al.,

                 Defendants.




 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT
JARED KUSHNER’S MOTION TO DISMISS THE SECOND AMENDED COMPLAINT
                    PURSUANT TO RULE 12(B)(6)




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                                                                     v
           Defendant Jared Kushner joins Donald J. Trump for President, Inc.’s Motion to Dismiss

the Second Amended Complaint (Omnibus Motion), and submits this supplemental motion and

memorandum seeking dismissal of all claims against him for failure to state a claim under Federal

Rule of Civil Procedure 12(b)(6).

                                        PRELIMINARY STATEMENT

           Plaintiff lumps Kushner in as part of a cast of “Trump Associates” collectively accused of

“suspicious communications” with Russian operatives and of offering some undefined form of

“active support” to the alleged hacking and dissemination of DNC files, 1 but the Second Amended

Complaint (SAC) fails to contain a single factual allegation implicating Kushner in any

wrongdoing. Instead, Kushner is mentioned by name in only 12 of the SAC’s 372 paragraphs, and

every conceivably relevant thing he is alleged to have done relates to his presence at a single

meeting that he is not alleged to have arranged, actively participated in, or responded to by taking

any action. Attending an isolated meeting is not “actively supporting” anything, and while

Plaintiff may believe these innocuous facts warrant equating Kushner with its favored antagonists,

they state no claim against him upon which relief can be granted.

           In addition to the reasons outlined in Defendants’ Omnibus Motion, Plaintiff’s RICO

claims fail because the SAC does not identify Kushner’s role in any alleged enterprise, any specific

actions he took in its furtherance, any support he provided to it, or any other factual matter to

justify the conclusory assertion that he was, or intended to be, involved.



1
    Plaintiff claims it was “Russia’s intelligence services [who] illegally hacked into the DNC’s computer systems . . .

[and] then disseminated the stolen, confidential materials through GRU-created websites, as well as WikiLeaks and

Assange . . . .” SAC ¶83. Plaintiff claims “Trump Associates” contributed some manner of “active[] support[],” but

fails to allege any facts that would permit this inference. Id.


                                                            1
       Plaintiff also states no claim against Kushner under the Wiretap Act or DC Uniform Trade

Secrets Act. Even if the documents purportedly disclosed were confidential communications or

“trade secrets” (which takes a fanciful imagination), the SAC alleges that other parties were

responsible for obtaining and disseminating them. Plaintiff does not identify a single instance of

Kushner intercepting, obtaining, having, using, or providing any assistance with the acquisition of

such documents. In any case, the information disclosed is of public concern, so these claims are

foreclosed by the First Amendment.

       For similar reasons, Plaintiff fails to state a claim against Kushner for conspiracy to commit

trespass to chattels. Beyond his alleged attendance at a single meeting, of which Plaintiff tells us

essentially nothing, the SAC does not allege a single action or statement involving Kushner that

could possibly (let alone plausibly) support an inference that he shared an unlawful purpose or

took any actions in support or furtherance of the alleged trespass.

       Finally, Plaintiff’s claim under the Virginia Computer Crimes Act (VCCA) should be

dismissed. The VCCA targets unlawful behavior by persons using a computer, but Plaintiff does

not allege that Kushner ever used a computer to commit any proscribed act. Additionally, no

authority supports Plaintiff’s insinuation that vicarious liability may be imposed under the Act for

“aiding and abetting” and, even if it did, Plaintiff does not allege a single fact indicating that

Kushner in any way aided and abetted the alleged offense.

                    LEGAL STANDARDS ON A MOTION TO DISMISS

       A complaint warrants dismissal under Rule 12(b)(6) for “failure to state a claim upon which

relief can be granted” when it does not “contain sufficient factual matter to ‘state a claim for relief

that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)) (emphasis added). If a plaintiff has not “nudged [his]

claims across the line from conceivable to plausible, the [] complaint must be dismissed.”
                                                  2
Twombly, 550 U.S. at 570; see also Iqbal, 556 U.S. at 662 (“Where a complaint pleads facts that

are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility

and plausibility of entitlement to relief.’”). Similarly, Rule 8 “demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. “Nor does a complaint

suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement’.” Id. (alteration

in original). Legal conclusions and “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements,” are not entitled to the presumption of truth. Id.

                                               ARGUMENT

     I.    PLAINTIFF FAILS TO STATE A RICO CLAIM AGAINST KUSHNER

           Plaintiff alleges that Defendants violated 18 U.S.C. §§1962(c) & (d) by engaging in, and

conspiring to engage in, a pattern of racketeering activity. SAC ¶¶265–308. Although Plaintiff

fails to state a viable RICO claim against any Defendant, the allegations against Kushner are

particularly deficient. There are no facts in the SAC connecting Kushner to the alleged RICO

violation. Instead, Plaintiff pleads the type of conclusory, stigmatizing, and frivolous RICO

allegations that “courts should strive to flush out . . . at an early stage of the litigation.” Flexborrow

LLC v. TD Auto Fin. LLC, 255 F. Supp. 3d 406, 414 (E.D.N.Y. 2017); see also Equinox Gallery

Ltd. v. Dorfman, 306 F. Supp. 3d 560, 570 (S.D.N.Y. 2018) (“[C]ourts are encouraged to dismiss

RICO allegations at an early stage of the litigation where it is otherwise appropriate to do so.”).

               A. RICO Legal Standards

           “A plaintiff’s burden is high when pleading RICO allegations.”                 Targum v. Citrin

Cooperman & Co., LLP, 2013 WL 6087400, at *5 (S.D.N.Y. Nov. 19, 2013). 2 A plaintiff bringing



2
    “[A]lthough civil RICO may be a ‘potent weapon,’ plaintiffs wielding RICO almost always miss the mark.”

Flexborrow, 255 F. Supp. 3d at 414; see Gross v. Waywell, 628 F. Supp. 2d 475, 479–83 (S.D.N.Y. 2009) (surveying


                                                       3
a RICO claim under Section 1962(c) must allege participation in the affairs of an enterprise and a

pattern of racketeering activity in the form of two or more qualifying predicate acts. U.S. Fire Ins.

Co. v. United Limousine Serv., Inc., 303 F. Supp. 2d 432, 446 (S.D.N.Y. 2004). These elements

“must be established as to each individual defendant,” and each “must share a common purpose to

engage in a fraudulent course of conduct and work together [with the other associated individuals]

to achieve such purposes.” Id. at 447, 451. Allegations directed at multiple defendants, or “‘group

pleading[s,]’ do[] not comply with the requirements of RICO” because “lumping the defendants

into collective allegations results in a failure to demonstrate the elements of § 1962(c) with respect

to each defendant individually, as required.” Gross, 628 F. Supp. 2d at 495. Moreover, a plaintiff

must allege facts showing that each defendant participated “in the operation or management of the

enterprise” and had “some part in directing [its] affairs.” U.S. Fire, 303 F. Supp. 2d at 451. “In

this Circuit, the ‘operation and management’ test is an extremely rigorous test,” Schmidt v. Fleet

Bank, 16 F. Supp. 2d 340, 346 (S.D.N.Y.1998), and “[i]t is not enough to merely take directions

and perform ‘tasks that are necessary and helpful’ to the enterprise. . . . Nor is it enough to simply

provide ‘goods and services that ultimately benefit the enterprise.’” U.S. Fire, 303 F. Supp. 2d at

451–452; see also Elsevier Inc. v. W.H.P.R., Inc., 692 F. Supp. 2d 297, 307-08 (S.D.N.Y. 2010)

(dismissing RICO claims against individual defendants because “it is not enough to allege that a

defendant provided services that were helpful to an enterprise, without alleging facts that, if

proved, would demonstrate some degree of control over the enterprise”).

         Additional specificity is required in alleging a RICO conspiracy under Section 1962(d). A

plaintiff must “assert that ‘each defendant by words or actions, manifested an agreement to commit



the 145 civil RICO cases filed in this District in 2004-2007 and finding that all thirty-six cases resolved on the merits

resulted in judgments against the plaintiffs, mostly at the motion to dismiss stage).


                                                           4
two predicate acts in furtherance of the common purpose of a RICO enterprise.’” U.S. Fire, 303

F. Supp. 2d at 453 (citing Allen v. New World Coffee, Inc., 2001 WL 293683, at *8 (S.D.N.Y. Mar.

27, 2001)). Moreover, a conspiracy claim under Section 1962(d) cannot survive if plaintiff fails

to state a claim under Section 1962(c). Elsevier, 692 F. Supp. 2d 297 at 312; Foster v. 2001 Real

Estate, 2015 WL 7587360, at *5–6 (S.D.N.Y. Nov. 24, 2015).

                B. Plaintiff Does Not Allege That Kushner Committed Any Predicate Acts

           The so-labelled “Trump Associates” are alleged to have provided some unspecified

“support” to the alleged trade secret theft and economic espionage, 3 but such “broad aiding and

abetting allegation[s]” ignore the “requirement that at least two acts of racketeering per defendant

be alleged.” U.S. v. Bonanno Organized Crime Family of La Cosa Nostra, 683 F. Supp. 1411,

1427 (E.D.N.Y. 1988), aff'd, 879 F.2d 20 (2d Cir. 1989); see also Abbott Labs. v. Adelphia Supply

USA, 2017 WL 57802, at *6 (E.D.N.Y. Jan. 4, 2017) (“Simply aiding and abetting a [RICO]

violation is not sufficient to trigger liability.”); Spinale v. United States, 2004 WL 50873, at *6

(S.D.N.Y. Jan. 9, 2004) (“Courts in this district have routinely held that ‘aiding and abetting’ a

RICO enterprise is not a valid cause of action.”). Evidently realizing this, Plaintiff adds a

conclusory allegation that on “July 24, 2017, Kushner corruptly attempted to obstruct or impede

an official proceeding, in violation of 18 U.S.C. § 1512(c)(2)” by initially failing to disclose

information concerning the Trump Tower meeting during his congressional security clearance




3
    Neither of these are viable predicate acts. See Toms v. Pizzo, 172 F.3d 38 (2d Cir. 1998) (“trade secret theft . . [is]

not [a] predicate act[] for purposes of the RICO statute”); Conte v. Newsday, Inc., 703 F. Supp. 2d 126, 138 n.9

(E.D.N.Y. 2010) (economic espionage “does not qualify as a predicate act under the RICO statute”).


                                                              5
hearing. SAC ¶¶213, 299. This factual claim is false, 4 but even if true amounts to nothing more

than a claim Kushner committed a single, non-RICO predicate.

           RICO predicates must lead “directly to the plaintiff’s injuries,” Anza v. Ideal Steel Supply

Corp., 547 U.S. 451, 461 (2006), 5 and relate to both each other and the alleged enterprise. Reich

v. Lopez, 858 F.3d 55, 61 (2d Cir. 2017). Racketeering acts are related to the enterprise when “the

defendant was enabled to commit the offense solely because of his position in the enterprise or his

involvement in or control over the enterprise’s affairs, or because the offense related to the

activities of the enterprise.” Id. Racketeering acts are related to each other when they “have the

same or similar purposes, results, participants, victims, or methods of commission, or otherwise

are interrelated by distinguishing characteristics and are not isolated events.” Id.

           Not only is the alleged attempt to influence his security clearance the sole predicate

attributed to Kushner, it does not relate to Plaintiff’s injuries or any RICO scheme to influence a




4
    The suggestion that Kushner attempted to impede the proceeding is undermined by the very article Plaintiff cites,

which admits that errors are common in such filings, that Kushner promptly corrected the error, and that he may not

have needed to declare the information at all, but chose to out of an abundance of caution. SAC ¶213 n.189. It is

ironic that Plaintiff has so little sympathy for Kushner’s need to amend his filings despite requiring three iterations of

the complaint just to include this allegation that has been publically known since at least 2017.
5
    This proximate cause must be established as to each defendant. See Kerrigan v. ViSalus, Inc., 112 F. Supp. 3d 580,

608 (E.D. Mich. 2015) (“in order to state a § 1962(c) claim against any Defendant, Plaintiffs must allege a clear causal

connection between that Defendant’s alleged predicate acts and their injuries.”); Eclectic Props. E., LLC v. Marcus &

Millichap Co., 2010 WL 384736, at *4 (N.D. Cal. Jan. 29, 2010) (dismissing RICO claim where “the complaint does

not adequately allege that each defendant proximately caused plaintiff’s damages”); Holmes v. Sec. Inv’r Prot. Corp.,

503 U.S. 258, 268-74 (1992) (where the “link” between conduct alleged and plaintiffs’ harm is “too remote,” “purely

contingent,” or “indirect[],” RICO claims “run afoul of proximate causation standards”).


                                                            6
presidential election that had concluded months prior. Thus, it is no predicate act at all. 6 And to

the extent Kushner’s ability to commit the alleged offense was enabled by any position he held, it

would be his position in the Administration requiring him to obtain security clearance, not an

alleged enterprise that illegally benefited that Administration. See Cohen v. Cohen, 993 F. Supp.

2d 414, 425 (S.D.N.Y. 2014) (“Any number of a defendant’s activities or affiliations might create

the circumstances for a RICO predicate act, but the legal question is whether the predicate act

could rationally be ascribed to the enterprise such that it was conduct of an enterprise within the

meaning of the RICO act.”).

          Nor is Kushner’s alleged omission related to the other claimed predicates in purpose, result,

participants, victims, or methods of commission. Plaintiff’s RICO theory is that Defendants, for

the purpose of securing the presidential election, hacked and disseminated its files, which resulted

in Plaintiff’s harm. SAC ¶¶276-304. Kushner, by contrast, is alleged to have tried to influence

his security clearance by deliberately omitting information provided to the congressional

committee         overseeing       that     determination. 7            This      is    exactly      the     type      of

“unrelated predicate act[] allegedly committed against [other] victims . . . . [pled] to extend the

scope of the pattern of racketeering activity” that these relatedness requirements prohibit. Cohen,


6
    A RICO predicate must “amount to or pose a threat of continued criminal activity.” H.J. Inc. v. N.W. Bell Tel.

Co., 492 U.S. 229, 239 (1989). As the alleged omission was quickly cured, cannot be repeated, and could not have

furthered the purposes of the alleged enterprise, it never posed any future threat of criminal activity. See GICC Capital

Corp. v. Tech. Fin. Grp., Inc., 67 F.3d 463, 466 (2d Cir. 1995) (it “defies logic to suggest that” particular racketeering

acts will continue where they are incapable of further benefiting the alleged enterprise); Gross, 628 F. Supp. 2d at 496

(rejecting alleged predicate acts that presented “no threat of continuing or renewed criminal activity”).
7
    Notably, Kushner allegedly omitted information in a hearing regarding his security clearance rather than in an

investigation of the alleged RICO activities. SAC ¶¶291-303.


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993 F. Supp. 2d at 425; see also Ray Larsen Assocs., Inc. v. Nikko Am., Inc., 1996 WL 442799, at

*6 (S.D.N.Y. Aug. 6, 1996) (rejecting the relatedness of predicates that were not directed at

plaintiff and not alleged to have injured plaintiff); In re Basic Food Grp., LLC, 2016 WL 3677673,

at *11 (Bankr. S.D.N.Y. July 1, 2016) (same). 8

                C. Plaintiff Pleads Nothing Connecting Kushner to The Alleged RICO Violation

           The remaining allegations fail to support any of the inferences necessary to state a RICO

claim against Kushner. For example, Plaintiff alleges nothing that would permit any inference that

Kushner (1) shared the purported unlawful purpose, (2) participated in the operation or

management of the alleged enterprise, (3) agreed to commit any racketeering acts in its furtherance,

or (4) provided any support or aid whatsoever. Instead, Plaintiff factually alleges that Kushner:

       1) is President Trump’s son-in-law and senior advisor, and was a “decision-maker” for the
          campaign’s “data-driven efforts,” including social media and analytics. SAC ¶59.

       2) attended a June 7, 2016 meeting with Trump campaign personnel. Id. ¶219.

       3) attended a June 9, 2016 meeting at Trump Tower and was privy to some correspondence
          regarding this meeting before it occurred. Id. ¶¶137, 219.

       4) proposed establishing a secure communications channel between the Russian government
          and the Trump transition team after Trump had already won the election. Id. ¶220. 9

           None of these allegations imply any common unlawful purpose, “identify what role, if any,

[Kushner] had in the operation or management of the alleged enterprise,” or amount to “facts that,



8
    Even if Kushner hoped his omission would benefit the enterprise, which Plaintiff has not even suggested, this would

be insufficient. See Reich, 858 F.3d at 62; Schlaifer Nance & Co. v. Estate of Warhol, 119 F.3d 91, 97 (2d Cir. 1997).
9
    Plaintiff also alleges Kushner mislead “the Special Counsel, the FBI, and Congressional committees,” SAC ¶30, but

this claim is based on Plaintiff’s disagreement with Kushner’s innocent explanations rather than any actual evidence

of bad intent. SAC ¶¶219–20. Such a “conclusory allegation[]. . . . couched as [a] factual allegation[]”is not presumed

true. Nielsen v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014).


                                                            8
if proved, would demonstrate some degree of control over the enterprise.” Eagle One Roofing

Contractors, Inc. v. Acquafredda, 2018 WL 1701939, at *8 (E.D.N.Y. Mar. 31, 2018). Plaintiff

alleges the June 9, 2016 Trump Tower meeting was preceded by an exchange among other

people—Defendant Trump Jr. and a Russian individual—regarding certain unspecified “official

documents and information” that could incriminate Hillary Clinton. SAC ¶¶132–36. Whether

Kushner believed that such documents were to be discussed at the meeting or not, 10 Plaintiff does

not allege that Kushner was provided any information regarding the nature or source of the

documents such that he would have any reason to believe they were unlawfully obtained or were

intended for unlawful use. Moreover, Plaintiff does not allege that Kushner learned anything

further about the documents at the meeting, actively participated, or agreed to do anything at or in

response to the meeting. Standing alone, Kushner’s mere attendance does not support any

inference that he conspired to hack and disseminate DNC files to unlawfully influence the

presidential election, or managed and controlled those efforts through the alleged enterprise. Nor

does it evince any “active support and approval,” SAC ¶82, of the alleged scheme, which would

also be insufficient. See Acquafredda, 2018 WL 1701939, at *8 (dismissing a RICO claim because

the complaint alleged only that the defendant “aided and abetted” the enterprise); Elsevier, 692 F.

Supp. 2d at 308 (“provid[ing] services that were helpful to” an enterprise is no RICO violation).


10
     This claim is based on 1) the assertion that Kushner was forwarded emails from Trump Jr. with the subject line

“Russia – Clinton – private and confidential,” and 2) a blatant mischaracterization of a statement by Rudy Giuliani

regarding a separate meeting that occurred two days before. SAC ¶219. The email subject line alone does not convey

that the meeting was about incriminating documents, and Kushner’s statement cited by Plaintiff is that he read only

the top email concerning the meeting time, but not the chain of correspondence. Id. ¶220 n.201. The second assertion

incorrectly reports that Giuliani described a meeting Kushner attended on June 7, 2016 as “preparatory” for the Trump

Tower meeting, but Giuliani denied that the meeting was related in any way to the Trump Tower meeting. Id. n.200.


                                                          9
           Finally, the allegation that Kushner proposed setting up a secure communication channel

between the Russian government and the Trump transition team suggests no wrongdoing. True or

not, 11 there are countless possible reasons that Kushner may have wanted such a connection,

including the asserted need to exchange information concerning Syria. SAC ¶220 n.201. The

more implausible reason is that he hoped it would, in some way that defies explanation, help secure

a presidential election that had already been won. This allegation cannot even be described as

“merely consistent with a defendant’s liability,” which, in any case, “stops short of the line between

possibility and plausibility of entitlement to relief.” Iqbal, 556 U.S. at 678.

                D. Plaintiff Fails to State A RICO Conspiracy Claim Against Kushner

           Plaintiff’s RICO conspiracy claim under Section 1962(d) would fail even were it not

proscribed by failure to allege a substantive RICO violation under Section 1962(c). First,

Plaintiff’s claim that Kushner knew of or stood to benefit from the alleged scheme is insufficient

even if true (it is not). See Abbott, 2017 WL 57802, at *9 (“Even if Abbott’s allegations gave rise

to the inference that the defendants knew about the scheme, ‘mere knowledge of the scheme, even

coupled with personal benefit, is not enough to impose liability for a RICO conspiracy.’”) (citing

Congregacion de la Mision Provincia de Venezuela v. Curi, 978 F. Supp. 435, 451 (E.D.N.Y.

1997)). Second, Plaintiff alleges nothing at all plausibly connecting Kushner to the alleged

scheme—much less “words or actions [that] manifest[] an agreement to commit two predicate acts

in furtherance of the common purpose of a RICO enterprise.” U.S. Fire, 303 F. Supp. at 453; see

also Elsevier, 692 F. Supp. 2d at 313 (“[A] complaint alleging a violation of § 1962(d) must contain

allegations of ‘some factual basis for a finding of a conscious agreement among the defendants.’”)

(citing Hecht v. Commerce Clearing House, Inc., 897 F.2d 21, 26 n.4 (2d Cir. 1990)); Com–Tech


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     Plaintiff offers only conflicting accounts by Kushner and a Russian individual. SAC. ¶220.


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Assoc. v. Computer Assoc. Int’l, Inc., 753 F. Supp. 1078, 1092 (E.D.N.Y.1990); Acquafredda,

2018 WL 1701939, at *8 (dismissing a RICO claim because allegations that the defendant “aided

and abetted” the enterprise “merely lump[s] [the defendant] with others in the enterprise”).

Plaintiff’s RICO claims against Kushner must be dismissed.

 II.       PLAINTIFF FAILS TO STATE A CLAIM UNDER THE WIRETAP ACT
           AGAINST KUSHNER

           Plaintiff fails to state a claim under the Wiretap Act against Kushner for the same reason

the RICO claims fail—there is no allegation that Kushner was involved in the alleged hacking and

dissemination of documents. Plaintiff asserts a violation of 18 U.S.C. §2511(1)(c) & (d), 12 which

reproves the intentional use and disclosure of unlawfully intercepted electronic communications.

But Plaintiff’s claim that Kushner knowingly used information unlawfully obtained and disclosed

by others is a textbook legal conclusion that requires supporting factual allegations. SAC ¶312.

There are none—not a single example of Kushner intercepting or using any confidential

information. Nor does Plaintiff allege that Kushner knew how the alleged DNC information was

obtained by others, so it is implausible to assert that he knew it was “unlawfully intercepted.”

           Regardless, Plaintiff fails to allege that Kushner had access to or used any confidential

communications before they had been intercepted and disclosed to the public by others. SAC ¶83.

Any subsequent obtaining and use by Kushner would not offend the Wiretap Act. Bartnicki v.

Vopper, 532 U.S. 514, 525 (2001) (even a party with knowledge of unlawful interception does not

violate the Wiretap Act by using and further disseminating the information by lawful means). This

is particularly true here, where Plaintiff concedes that the information was of public importance

by alleging that it was relevant to, and affected how, the public voted in a presidential election.



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     The Omnibus Motion explains that there is no vicarious or “aiding and abetting” liability under the Wiretap Act.


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See e.g., SAC ¶¶13, 26, 84, 196, 203; Bartnicki, 532 U.S. at 534 (First Amendment counsels

against Wiretap Act liability for disseminating communications of public importance, even where

it is known they were unlawfully intercepted); see also Citizens United v. FEC, 558 U.S. 310, 339

(2010) (“The First Amendment ‘has its fullest and most urgent application’ to speech uttered

during a campaign for public office.”). Because Plaintiff fails to allege any fact linking Kushner

to the alleged violation of the Wiretap Act, and by Plaintiff’s own allegations, any subsequent use

by him would have been lawful and constitutionally protected, this claim must be dismissed.

III.    PLAINTIFF FAILS TO STATE A CLAIM UNDER THE DC UNIFORM TRADE
        SECRETS ACT AGAINST KUSHNER

        Plaintiff’s claim under the DC Uniform Trade Secrets Act fails. “To establish a trade secret

misappropriation claim, [Plaintiff] must demonstrate (1) the existence of a trade secret; and (2)

acquisition of the trade secret by improper means, or improper use or disclosure by one under a

duty not to disclose.” DSMC, Inc. v. Convera Corp., 479 F. Supp. 2d 68, 77 (D.D.C. 2007). Yet,

Plaintiff does not claim that Kushner received, used, or disseminated any information before it was

allegedly disclosed to the public by others. “[O]nce material is publicly disclosed, it loses any

status it ever had as a trade secret.” Catalyst & Chem. Servs., Inc. v. Glob. Ground Support, 350

F. Supp. 2d 1, 9 (D.D.C. 2004), aff’d, 173 F. App’x 825 (Fed. Cir. 2006); see also DSMC, 479 F.

Supp. 2d at 78 (“[A]s a matter of law, however . . . trade secret law does not protect information

that is ‘easily ascertainable by the public . . .’.”). Moreover, Plaintiff fails to identify any instance

of Kushner receiving, disclosing, or using any of the alleged trade secrets, or any action that could

possibly be considered a “misappropriation” of anything. This claim must be dismissed.

IV.     PLAINTIFF FAILS TO STATE A CLAIM UNDER VIRGINIA LAW FOR
        CONSPIRACY TO COMMIT TRESPASS AGAINST KUSHNER

        Just as Plaintiff failed to properly allege a RICO conspiracy, Plaintiff also fails to state a

conspiracy claim against Kushner under Virginia law. See Nasik Breeding & Res. Farm Ltd. v.

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Merck & Co., 165 F. Supp. 2d 514, 540–41 (S.D.N.Y. 2001) (civil conspiracy claim fails because

plaintiff failed to prove a RICO conspiracy). “A common law conspiracy consists of two or more

persons combined to accomplish, by some concerted action, some criminal or unlawful purpose or

some lawful purpose by a criminal or unlawful means.” Gelber v. Glock, 293 Va. 497, 533 (2017).

Plaintiff’s conspiracy claim relies on the underlying tort of trespass to chattels, which “is defined

in Virginia as the intentional use or intermeddling with the personal property of another without

authorization from the property’s owner.” Arias v. Jokers Wild, Inc., 73 Va. Cir. 281 (2007).

       Again, Plaintiff does not allege that Kushner performed the alleged trespass or anything

supporting the conclusory claim that he “knowingly and substantially assisted.” SAC ¶359.

Plaintiff asserts that Kushner was “generally aware of his role as part of an overall common

scheme,” id., but does not identify this role or offer any explanation, coherent or otherwise, for

how Kushner attending a single meeting could be “substantially assisting” anything. As with the

RICO claim, Plaintiff’s ability to attune a malicious agenda to ostensibly lawful behavior is not

evidence of criminal intent.      See Reich v. Lopez, 38 F. Supp. 3d 436, 461 (S.D.N.Y.

2014), aff’d, 858 F.3d 55 (2d Cir. 2017) (“[T]he civil conspiracy allegation turns on whether

Plaintiffs have pleaded with particularity that [the individual defendant] actually agreed to a

conspiracy to defame.”). Plaintiff has not provided any “factual basis from which it can be inferred

that [Kushner] did anything to cause the offending articles to be published by [different

defendants],” and such “[c]onclusory claims of conspiracy that are not pleaded with sufficient

factual grounding should be dismissed.” Donini Int’l, S.p.A. v. Satec (U.S.A.) LLC, 2004 WL

1574645, at *3, *4 (S.D.N.Y. July 13, 2004); see also Am. Bldg. Maint. Co. of N.Y. v. Acme Prop.

Servs., Inc., 515 F. Supp. 2d 298, 318 (N.D.N.Y. 2007) (“more than a conclusory allegation of




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conspiracy or common purpose is required to state a cause of action against a nonactor, who must

have allegedly engaged in some independent culpable behavior”). 13

 V.        PLAINTIFF FAILS TO STATE A CLAIM UNDER THE VIRGINIA COMPUTER
           CRIMES ACT AGAINST KUSHNER

           Plaintiff’s claim that Kushner violated the Virginia Computer Crimes Act fails as well.

The VCCA penalizes any person with the requisite malicious intent “who uses a computer or

computer network” “without authority . . .” to commit the various prohibited acts. Va. Code Ann.

§§18.2-152.3, 18.2-152.4, 18.2-152.5. Plaintiff does not allege that Kushner used a computer or

performed any of the listed prohibited acts. Instead, Plaintiff claims “[e]ach Defendant knowingly

aided, abetted, encouraged, induced, instigated, contributed to and assisted Russia’s violation of”

the VCCA. SAC ¶371. But Kushner cannot be liable under the VCCA for aiding and abetting a

violation by others and, factually, Plaintiff has failed to allege a sufficient aiding and abetting claim

against Kushner. See Supinger v. Virginia, 167 F. Supp. 3d 795, 821 (W.D. Va. 2016) (dismissing

a conclusory claim under the VCCA because the “complaint lacks sufficient factual allegations ‘to

raise a right to relief above the speculative level’”) (citing Twombly, 550 U.S. at 555); Stultz v. Va.

Dep’t of Motor Vehicles, 185 F. Supp. 3d 890, 903–04 (W.D. Va. 2015) (same).




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     Virginia courts would reach the same outcome. See Bowman v. State Bank of Keysville, 229 Va. 534, 541 (1985)

(“The conspiracy theory is asserted in mere conclusory language and the argument in support of the theory is based

on inferences that are not fairly and justly drawn from the facts alleged.”); Peterson v. Fairfax Hosp. Sys., Inc., 31 Va.

Cir. 50 (1993) (“the complaint fails to specify in what manner each of the individual defendants was involved in

such conspiracy . . . .”); Coward v. Wellmont Health Sys., 295 Va. 351, 363 (2018) (“Nor does the complaint allege

with specificity a civil conspiracy. . . . If any vitiation inference is to be drawn, it must come from the specific factual

allegations against each of these defendants.”).


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       The VCCA does not permit a claim against a party who did not actually use or operate a

computer to effectuate the enumerated crimes, which is consistent with Virginia’s general rejection

of aiding and abetting liability. See L-3 Comm. Corp. v. Serco, Inc., 2018 WL 1352093, at *9

(E.D. Va. Mar. 15, 2018) (“Virginia does not recognize an aiding and abetting theory of tort

liability.”). Virginia law instead uses the vehicle of civil conspiracy to attach secondary or

vicarious liability to a party accused of aiding or abetting another’s unlawful activity. See Tysons

Toyota, Inc. v. Commonwealth Life Ins., 20 Va. Cir. 399 (1990). Not only has Plaintiff not listed

the alleged VCCA violation as a predicate act in its Virginia civil conspiracy claim, but Plaintiff

can state no conspiracy claim against Kushner for the reasons already expounded.

                                         CONCLUSION

       For the foregoing reasons, Plaintiff’s claims against Mr. Kushner should be dismissed.

Dated: March 4, 2019                                 Respectfully submitted,


                                                     /s/ Abbe David Lowell

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                                  CERTIFICATE OF SERVICE

         I certify that on March 4, 2019, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send a notice of electronic filing to all registered parties.


Dated:     March 4, 2019                         /s/ Christopher D. Man
                                                 Christopher D. Man

                                                 Counsel for Jared Kushner




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                             CERTIFICATION OF COMPLIANCE

         I certify that this memorandum is 5,926 words long (inclusive of footnotes) and a total of

15 pages, in compliance with the Court’s Scheduling Order dated October 1, 2018.


Dated:    March 4, 2019                         /s/ Christopher D. Man
                                                Christopher D. Man

                                                Counsel for Jared Kushner




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